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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        January 11, 2021
                     UNITED STATES DISTRICT COURT
                                                                       Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


IN RE:                       §
EP ENERGY CORPORATION, ET AL § CIVIL ACTION NO. 4:20-02755
                             §
                             §
       Debtor(s),            §
                             §
                             §
MCKINLEY HOUSTON, ET AL      §
                             § ADV. PROCEEDING NO. 19-3698
       Plaintiff(s).         §
                             §
VS.                          §
                             §
EP ENERGY CORPORATION        §
                             §
       Defendant(s)          §

                MEMORANDUM AFFIRMING DISMISSAL

      Before the Court is the appeal of the appellants’, Michael Houston and

Steven Houston, from an order dismissing their adversary proceeding by the

Bankruptcy Court in this cause. The appellee, EP Energy Corporation, filed a

response, seeking to have the order of the Bankruptcy Court affirmed. After a

careful review of the Bankruptcy Court’s order, the briefs filed and the record

before the Court, the Court concludes that the Bankruptcy Court’s order should be

affirmed.
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      The issue before the Court raises the limited question of whether a judgment

entered in an Illinois state court and recognized by a Louisiana state court are void.

Suffice it to say, the nature of those proceedings and facts supporting same are not

relevant to the issue here. It is sufficient to state that the outcomes in both the

Illinois and Louisiana state courts were unfavorable to the appellants.

      Unconvinced by the state court decisions, the appellants raised the issue of

voidness of the state judgment(s) in federal court in Louisiana contending that the

Rooker-Feldman doctrine did not apply. That federal court and the Fifth Circuit

Court Appeals found that the appellants’ claim, that the state court judgments were

void, were without merit. Hence, the Bankruptcy Court determined that it was

bound by the Fifth Circuit’s decision. So is this Court.

      Therefore, this Court AFFIRMS the Bankruptcy Court’s Order dismissing

the appellant’s adversary complaint.

      It is so ORDERED.

      SIGNED on this 11th day of January, 2021.


                                           _________________________________
                                           Kenneth M. Hoyt
                                           United States District Judge
